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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


 ALBERTO SUAREZ,

 v.                                                Case No. 3:05-cr-393-J-33MCR
                                                            3:09-cv-678-J-33MCR

 UNITED STATES OF AMERICA.
 _____________________________________________

                                         ORDER

        This cause is before the Court on Defendant Suarez's motion to vacate, set aside,

 or correct an allegedly illegal sentence pursuant to 28 U.S.C. § 2255. (Doc. cv-1; cr-627).

 Because review "of the motion and the file and records of the case conclusively show that

 the defendant is entitled to no relief," the Court will not cause notice thereof to be served

 upon the United States Attorney but shall proceed to address the matter. See 28 U.S.C.

 § 2255.

                                     Procedural History

        On June 1, 2006, Suarez pled guilty to Count One of the Indictment to the lesser

 included offense of conspiracy to distribute 100 kilograms or more of marihuana, in violation

 of 21 U.S.C. § § 841(a)(1), 841(b)(1)(B), and 846. (Doc. cr-349, 350).

        On November 29, 2007, the Court sentenced Suarez to be imprisoned for a total

 term of forty-one months as to Count One of the Indictment. Count Three of the Indictment

 was dismissed on the Government’s motion. (Doc. cr-577). Judgment was entered

 November 29, 2007. (Doc. cr- 578). Suarez did not file a direct appeal.

        Suarez signed the present motion to vacate on July 13, 2009. The motion to vacate

 is time-barred.
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                                          Discussion

        On April 24, 1996, a substantial amendment to 28 U.S.C. § 2255 became effective.

 That amendment, § 105 of the Antiterrorism and Effective Death Penalty Act of 1995

 ("AEDPA"), Pub. L. No. 104-132, 110 Stat. 1214, established a one-year "period of

 limitation" for the filing of a § 2255 motion, to run from the latest of: 1) the date on which

 the judgment of conviction becomes final; 2) the date any unconstitutional government

 impediment, if any, precluding the movant from making a motion is removed; 3) the date

 on which the right asserted was initially recognized by the United States Supreme Court;

 or 4) the date on which the facts supporting the claim could have been discovered through

 the exercise of due diligence. 28 U.S.C. § 2255, as amended by Pub. L. No. 104-132, Title

 1, § 105 (Apr. 24, 1996).

        For final judgments entered after the effective date of the AEDPA, or April 24, 1996,

 as in this case, the statute of limitations begins to run on the date the district court's

 judgment becomes final. In the present case, the conviction became final on December 13,

 2007, ten days after the judgment was entered. See Adams v. United States, 173 F.3d

 1339, 1342 (11th Cir. 1999) (when defendant does not pursue direct appeal, conviction

 becomes final when time for filing a direct appeal expires). Therefore, Suarez had until

 December 14, 2008, to timely file a motion to vacate. He did not sign the present motion

 to vacate until July 13, 2009. Therefore, the motion to vacate is time-barred.

                                      Equitable Tolling

        Suarez claims that he told his attorney to file a notice of appeal and that his attorney

 did not do so. Suarez states, in ground one of his motion to vacate:

        The Petitioner asked his attorney for him to submit some objections in is [sic]

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        PSI. (some of it are presented in this motion). his [sic] attorney told him that
        he will, but at the time of the Petitioner sentence, he found out that his
        attorney did not object to what the Petitioner ask for, the petitioner then told
        him to submit a notice to appeal, he said that once he go back to county jail,
        he will visit him and discuss that issue, [sic] The petitioner got tired of waiting
        for his visit he never showed up. [sic] Mr. Suarez got transfered [sic] to
        another facility and never heard from his attorney.

        Suarez’s statement of facts demonstrates that he did not diligently pursue having

 his attorney file an appeal for him, and did not attempt to find out whether an appeal had

 been filed. He states “Mr. Suarez left everything in the hands of his lawyer who promissed

 [sic] him that he would do everything to help him, and that he worked for Mr. Alverto Suarez

 not for the Court.” Suarez does not state that he ever attempted to contact his attorney or

 any court of appeal to determine whether an appeal had been filed.

        In short, Suarez has not shown that due diligence or extraordinary circumstances

 entitle him to equitable tolling.

        Accordingly, the Court orders:

        That Suarez’s motion to vacate, set aside, or correct an allegedly illegal sentence

 pursuant to 28 U.S.C. § 2255 (Doc. cv-1; cr-627) is denied. The Clerk is directed to enter

 judgment against Suarez in the civil case and to close that case.

                       CERTIFICATE OF APPEALABILITY AND
                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED

        IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

 appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal

 a district court's denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a district court must

 first issue a certificate of appealability (COA). Id. “A [COA] may issue AAA only if the applicant

 has made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2).


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 To make such a showing, Defendant “must demonstrate that reasonable jurists would find

 the district court's assessment of the constitutional claims debatable or wrong,” Tennard

 v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)),

 or that “the issues presented were ‘adequate to deserve encouragement to proceed further,

 ’ " Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle, 463 U.S.

 880, 893 n. 4 (1983)). Defendant has not made the requisite showing in these

 circumstances.

        Finally, because Defendant is not entitled to a certificate of appealability, he is not

 entitled to appeal in forma pauperis.

        ORDERED at Tampa, Florida, on October 28, 2009.




 AUSA: Julie Hackenberry Savell
 Alberto Suarez




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